          Case 2:21-cv-06165-AB-PD Document 17 Filed 08/05/21 Page 1 of 2 Page ID #:67

 AO 440 (Rev. 12/09) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Central District of
                                                   __________           of California
                                                                           __________

                        Michael DeLong,
                                                                       )
                                                                       )
                              Plaintiff
                                                                       )
                                 v.                                    )    Civil Action No. 2:21-cv-6165-AB-PDx
Allied Vehicle Protection, Palmer Administrative Services and          )
PayLink Direct,                                                        )
                             Defendant
                                                                       )


                                                   SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address) Allied Vehicle Protecton
                                          7657 Winnekta Ave, #444
                                          Winnekta, California 91306




           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are: Amy L. Bennecoff Ginsburg, Esquire
                                          KIMMEL & SILVERMAN, P.C.
                                          30 East Butler Pike
                                          Ambler, PA 19002
                                          (215)540-8888


        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


 Date:             08/05/2021                                                                    Grace Kami
                                                                                        Signature of Clerk or Deputy Clerk
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 Civil Action No. 2:21-cv-6165-AB-PDx

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           u I returned the summons unexecuted because                                                                             ; or

           u Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
